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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
      ______________________________________________________________________________


STATE OF TENNESSEE

          Plaintiff,
vs.                                                            Case No.: 2:23-cr-20191-MSN


TADARRIUS BEAN

          Defendant.

 MOTION AND MEMORANDUM IN SUPPORT OF DEFENDANT BEAN’S MOTION
    TO DISMISS COUNTS TWO, THREE, AND FOUR OF THE INDICTMENT


          COMES NOW the Defendant Tadarrius Bean requesting that this Court dismiss the
aforementioned counts, for the reasons articulated in the body of the memorandum contained
herein:
      1. Currently, Defendant Bean is indicted under four counts: (1) Deprivation of Rights Under
          Color of Law: Excessive Force and Failure to Intervene, (2) Deprivation of Rights Under
          Color of Law: Deliberate Indifference, (3) Conspiracy to Witness-Tamper, and (4)
          Obstruction of Justice: Witness-Tampering.
      2. Defendant Bean was indicted on counts for which the Government offers no specific
          factual assertions nor are those specific counts supported by no evidence presented
          through the information provided through discovery.
      3. To prevent a miscarriage of justice, the prosecution should not have indicted and charged
          Defendant Bean with counts that are not provable using the facts and discovery
          presented. Under the plain language of the indictment, Bean cannot be made aware of
          how the allegation can be either proved or defended at trial.
      4. We pray this Court grants this Motion to Dismiss three counts of Defendant Bean’s
          indictment. These counts include Deprivation of Rights Under Color of Law: Deliberate
          Indifference, Conspiracy to Witness-Tamper, and Obstruction of Justice: Witness-
          Tampering.
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                                        MEMORANDUM

                                        INTRODUCTION

       Defendant Tadarrius Bean (“Defendant Bean”) actively seeks to dismiss three counts of
the federal indictment, including (Count Two) the deprivation of rights under color of law-
deliberate indifference, (Count Three) conspiracy to witness-tamper, and (Count Four) obstruction
of justice witness-tampering, on the grounds that there are no factual allegations in the complaint,
only conclusions. The Government failed to show, through discovery and the indictment, that
Defendant Bean allegedly did what was stated. The Government does not provide a concise written
statement of the essential facts constituting the offense charged. Consequently, we pray this Court
exercises its discretion and dismisses three counts of the indictment, including (Count Two)
deprivation of rights under color of law- deliberate indifference, (Count Three) conspiracy to
witness-tamper, and (Count Four) obstruction of justice- witness tampering, in pursuit of justice.


                                         BACKGROUND
       The Motion stems from the Government not providing a factual basis for the alleged
allegations on three counts of the indictment. On January 7, 2023, Defendant Bean responded to a
call of a fleeing suspect that resulted in the death of the arrestee, Tyre Nichols (“Nichols”).
Defendant Bean, along with other co-defendants, were indicted under four counts: (Count One)
Deprivation of Rights Under Color of Law: Excessive Force and Failure to Intervene, (Count Two)
Deprivation of Rights Under Color of Law: Deliberate Indifference, (Count Three) Conspiracy to
Witness-Tamper, and (Count Four) Obstruction of Justice: Witness-Tampering. This is a technical
issue involving the sufficiency of the indictment for (Count Two) deprivation of rights under color
of law- deliberate indifference, (Count Three) conspiracy to witness-tamper, and (Count Four)
obstruction of justice- witness tampering, in pursuit of justice.


                                      LAW & ARGUMENT
       Due to the Government inability to provide factual basis and background for three counts
on the indictment, Defendant Bean is entitled to a dismissal of these charges. Pursuant to Federal
Rule of Criminal Procedure 7(c)(1), an indictment must “be a plain, concise, and definite written
statement of the essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). The
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standard test for the sufficiency of an indictment identifies two functions: “first, contains the
elements of the offense charged and fairly informs a defendant of the charge against which he must
defend, and, second, enables him to plead an acquittal or conviction in bar of future prosecutions
for the same offense.” Hamling v. United States, 418 U.S. 87, 117 (1974). Additionally, the
language of the statute “must be accompanied with such a statement of the facts and circumstances
as will inform the accused of the specific offence, coming under the general description, with
which he is charged.” Id. at 118 (quoting United States v. Hess, 124 U.S. 483, 487 (1888)). An
indictment must contain the elements of the charged crime in an adequate detail to inform the
defendant of the crime. United States v. Huping Zhou, 678 F.3d 1110, 1113 (9th Cir. 2012).
       Further, a bill of particulars cannot save an invalid indictment. Russell v. United States,
369 U.S. 749, 1050 (1962). “To allow the prosecutor, or the court, to make a subsequent guess as
to what was in the minds of the grand jury at the time they returned the indictment would deprive
the defendant of a basic protection which the guaranty of the intervention of a grand jury was
designed to secure.” Id. “For a defendant could then be convicted on the basis of facts not found
by, and perhaps not even presented to, the grand jury which indicted him.” Id.
       In Hamling v. United States, William L. Hamling, and other co-conspirators, were charged
on 21 counts of an indictment, in direct violation of a federal law. Hamling, 418 U.S., at 91.
Petitioners moved to dismiss the indictment on the grounds that it failed to inform them of the
charges, and that the grand jury had insufficient evidence before it to return an indictment and was
properly instructed on the law. Id. at 91. The Supreme Court held that a legal term of art, and not
merely a generic or descriptive term, does not change with each indictment because the legal term
of art has a legal meaning, unlike generic or descriptive terms. Id. at 118 Therefore, the indictment
in the case was sufficient to adequately inform petitioners of the charges against them. Id. at 119.
       In Faust v. United States, the Supreme Court held that a “name need not be correctly spelled
in an indictment, if substantially the same sound is preserved.” Faust v. United States, 163 U.S.
453, 454 (1896). Additionally, in United States v. Doe, the First Circuit Court held that “the use
of an alias in an indictment and in evidence is permissible if it is necessary to connect the
defendants with the acts charged.” United States v. Doe, 741 F.3d 217, 227 (1st Cir. 2013).
        The Government failed to give Defendant Bean fair notice of his charges. Unlike in
Hamling, the indictment did not have a term of art ambiguity. Additionally, unlike in Faust and
Doe, the Government did not misinterpret or incorrectly present Defendant Bean’s name. Instead,
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the Government failed to provide a specific offense. Specifically, on count two of the indictment,
deliberate indifference, the Government does not provide information that Defendant Bean would
or should have known his actions were erroneous. Next, on count three, conspiracy to witness-
tamper, the Government failed to provide specific evidence of Defendant Bean conspiring to
witness tamper. The Government failed to provide specific instances of how Defendant Bean failed
to inform other first responders, participated in conversations with other co-defendants to discuss
striking Nichols, deliberately removed his body-worn camera to prevent the capture of the incident,
participated in meetings with other co-defendants to provide detectives with false and misleading
information, omitted material information, and submitted false and misleading information on the
Response to Resistance Report. Lastly, on count four, obstruction of justice- witness tampering,
the Government alleged obstruction of justice without specifying the particular act that was
deemed to be obstructive. Ultimately, the Government failed to provide specific instances of the
offense for each account. The lack of clarity in this indictment poses a challenge to adequately
prepare for trial. The Government fails to furnish specific instances of Defendant Bean’s role or
elaborate details of the alleged crime. Additionally, a bill of particulars will not suffice because,
as stated in Russell, a bill of particulars cannot save an invalid indictment. To prevent any potential
miscarriage of justice, we respectfully ask the court to dismiss all three counts.


                                          CONCLUSION
       Defendant Bean is entitled to a dismissal of these three counts. The Government failed
immensely to provide information regarding the alleged allegations. The Court has a duty to ensure
that Defendant Bean is accurately indicted.
       For the foregoing reasons, Defendant Bean respectfully prays this Court grants his Motion
to Dismiss in this cause.
                                                               Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

       I, John Keith Perry, certify that a true and correct copy of the above and foregoing
Motion and Memorandum in Support unto the following, United States District Attorneys for
the Western District of Tennessee, via the Court’s electronic filing system.

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This the 24th day of January 2024
                                                             /s/ John Keith Perry, Jr.________
                                                             JOHN KEITH PERRY, JR.
